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3                               UNITED STATES DISTRICT COURT

4                                     DISTRICT OF NEVADA

5                                                 ***

6      AIRELL JOSHUA THOMAS SAWYER,                     Case No. 3:16-cv-00627-MMD-WGC

7                                  Petitioner,                      ORDER
              v.
8
       WARDEN BAKER, et al.,
9
                                Respondents.
10

11           Petitioner Airell Sawyer has filed an unopposed motion for extension of time to

12    complete discovery. (ECF No. 76.) This is Sawyer’s ninth request. The Court finds good

13    cause to grant the motion. However, given that discovery will have been ongoing for more

14    than two years and given the number of requests to extend the discovery period, this will

15    be the final extension.

16           It is therefore ordered that Sawyer's unopposed motion for extension of time to

17    complete discovery (ECF No. 76) is granted. Discovery must be complete by January 10,

18    2022. No further extensions will be granted.

19           DATED THIS 13th Day of October 2021.

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22                                               MIRANDA M. DU
                                                 CHIEF UNITED STATES DISTRICT JUDGE
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